Case 2:14-cv-01050-JLL-JAD Document 66 Filed 07/20/15 Page 1 of 2 PageID: 525
  Case 2:14-cv-01050-JLL-JAD Document 65 Filed 07/17/15 Page 1 of 2 PagelD: 523




                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


  RAMSEY ABDALLAH, individually
  and as Guardian for R1YANNA                 :      Civil Action No. 2: 14-cv-01050-JLL
  ABDALLAH, and GHADEER ABBASI,
  Individually and as Guardian for
  RIYANNA ABDALLAH

                        Plaintiffs,
                                                     STIPULATION REGARDING
            v.                                :      ANSWER TO SECOND
                                                     AMENDED COMPLAINT
  JETBLUE AIRWAYS CORPORATION,                :      AND ANSWER
  SABRE AIRLINE SOLUTIONS,                    :      TO CROSSCLAIMS
  and JOHN DOES 1-10,

                        Defendants.



            IT IS HEREBY STIPULATED AND AGREED among the parties through their

  undersigned attorneys, that the Second Amended Answer and Crossclaims filed by defendant

  JetBlue Airways Corporation on July 9, 2015 shall serve as the Answer to the Second Amended

  Complaint filed on July 9, 2015.

            IT IS FURTHER STIPULATED AND AGREED among the parties through their

  undersigned attorneys that defendant Sabre Airline Solutions shall answer or otherwise respond

  to the crossclaims filed by defendant JetBlue Airways Corporation on or before July 30, 2015.




                                                               SO ORDERED
                                                                    s/Joseph A. Dickson
                                                               Josejiii A. Dkon, U.S.MJ.

                                                               Date.   7/,1i/f 5

  MF1 2flS2fl144v 1
Case 2:14-cv-01050-JLL-JAD Document 66 Filed 07/20/15 Page 2 of 2 PageID: 526
  Case 2:14-cv-01050-JLL-JAD Document 65 Piled 07/17/15 Page 2 of 2 PagelD: 524




  FLORIO PERUCCI STEINHARDT                     McCARTER & ENGLISH, LLP
  & FADER, LLC                                  Attorneys for Defendant
  Attorneys for Plaintiff                       JetBlue Airways Corporation


  By:/s/Ravinder S. Bhalla                      By:/s/Adam N. Saravay
        Ravinder S. Bhalla                            Adam N. Saravay

  Dated: July 17, 2015                   Dated: July 17, 2015



  COHEN & GRESSER LLP
  Attorneys for Defendant
  Sabre Airline Solutions


  By:      /s/Christopher M.P. Jackson
           Christopher M. P. Jackson

  Dated: July 17, 2015




                                           2
  MF1 2fl2O144v 1
